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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                           CRIMINAL MINUTES -- GENERAL

Case No. CR 19-353(A)-MWF                      Dated: September 13, 2023
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PRESENT: HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

       Rita Sanchez                    Sheri Kleeger                   Daniel H. Weiner
     Courtroom Deputy                  Court Reporter                 Asst. U.S. Attorney
                                                                            Present


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U.S.A. vs (Dfts listed below)           Attorneys for Defendants

1)     Drew Joseph Henry                          1)    Richard Raynor
       Not Present - Custody                            Present - Appointed

__________________________________________________________________________
PROCEEDINGS:         WAIVER OF INDICTMENT AND ARRAIGNMENT;
                     CHANGE OF PLEA AND SETTING SENTENCING DATE

Case called, and counsel make their appearance.

Defendant is given a copy of the First Superseding Information. Defendant acknowledges
receipt of a copy and waives reading thereof. The Court questions the defendant regarding
the Waiver of Indictment, and finds that defendant's Waiver of Indictment is knowingly and
voluntarily made, and it is accepted by the Court. Waiver of Indictment executed by
defendant is filed.

Defendant is sworn. Plea agreement is filed. The plea agreement is incorporated and made a
part of this proceeding. Defendant withdraws his previously entered plea of not guilty and
enters a plea of Guilty to First Superseding Information.

The Court questions the defendant regarding the plea of Guilty and finds a factual and legal
basis for the plea. The Court finds that the defendant, Drew Joseph Henry, has entered his
plea freely and voluntarily with a full understanding of the charges against him and the
consequences of his plea. The Court finds that defendant understands his constitutional and
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statutory rights and wishes to waive them.

The Court refers the defendant to the Probation Office for the preparation of a pre-sentence
report and continues the matter to February 12, 2024, at 1:30 p.m., for sentencing. The Jury
Trial is hereby vacated. The defendant and counsel are ordered to return on this date for
Sentencing.

cc:     USPPO

Counsel are notified that Federal Rule of Criminal Procedure 32 requires the parties to notify the
Probation Officer, and each other, of any objections to the Presentence Report within fourteen (14)
days of receipt. Alternatively, counsel may file such objections not later than twenty-one (21) days
before Sentencing. The Court construes "objections" to include departure arguments. Any party
intending to move for a continuance of the Sentencing shall, not later than noon on the Monday
preceding the Sentencing, notify opposing counsel and the Courtroom Deputy. Strict compliance with
the above is mandatory because untimely filings interfere with the Court's preparation for Sentencing.
Failure to meet these deadlines is grounds for sanctions.




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